        Case 3:18-cr-00261-HZ        Document 156     Filed 12/31/20   Page 1 of 2




                              United States District Court

                                    District of Oregon



  United States of America,                         Case No. 3:18-cr-00261-HZ-2

                                  Plaintiff,
                                                    Order granting motion to reduce
                      v.                            sentence

  Eduardo Segura,

                               Defendant.

Hernández, Chief United States District Judge:

       This matter is before the Court on the parties’ joint motion to reduce sentence

under 18 U.S.C. § 3582(c)(1)(A)(i). Based on the filings to date and the agreement of

the parties, and after full consideration of the relevant factors under 18 U.S.C.

§ 3553(a), the Court finds that extraordinary and compelling reasons warrant a re-

duction of Defendant’s sentence to Time Served. Thus, the sentence is hereby

amended for a term of: Time Served. The Defendant shall be released 10 (ten) days

from the date of the amended judgment, or the next following Monday if 10 (ten) days

elapses on a Saturday or Sunday, for travel to the residential reentry center in

Page 1 — ORDER granting motion to reduce sentence
        Case 3:18-cr-00261-HZ        Document 156     Filed 12/31/20   Page 2 of 2




Portland, Oregon if the BOP has determined that he is COVID-19 negative. If the

BOP cannot make the determination by the effective date, the Government shall

notify the Court without delay.

        The term of imprisonment shall be followed by a five-year term of supervised

release, with the conditions previously set forth in the judgment and the additional

special condition that the defendant must reside at and participate in the program of

a residential reentry center for not more than 120 days, to be released at the direction

of the probation officer.

       The Court concludes that the defendant’s release under this order will not pose

a danger to any other person or the community. This sentence reduction is consistent

with the currently applicable U.S. Sentencing Commission policy statements.

       The Court therefore GRANTS the Joint Motion to Reduce Sentence.

       IT IS HEREBY ORDERED that an amended judgment and commitment order

shall be prepared and entered forthwith in this case, in accordance with this decision.

The amended judgment shall not become effective until ten days after it is entered on

the docket unless that date is a Saturday or Sunday, in which case the order will be

effective the following Monday.
                    31
       Dated this ______ day of December, 2020.



                                            Hon. Marco A. Hernández
                                            Chief United States District Court Judge




Page 2 — ORDER granting motion to reduce sentence
